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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION FILED: JULY 15, 2008                          LI
                                                        08CV4009
EUGENE CHERNYAVSKY, individually and             )
                                                        JUDGE   ZAGEL
on behalf of all others similarly situated,      )
                                                 )      MAGISTRATE JUDGE SCHENKIER
                                 Plaintiff,                )       Case No.
                                                           )
        v.                                                 )
                                                           )
INLAND BANK AND TRUST                                      )       JURY DEMANDED
d/b/a Cambridge Bank,                                      )
                                                           )
                                 Defendant.                )

                                   CLASS ACTION COMPLAINT

        Eugene Chernyavsky (“Plaintiff”), by his attorneys, The Consumer Advocacy Center,

P.C., states as follows for his Class Action Complaint against Inland Bank and Trust d/b/a

Cambridge Bank (“Defendant”).

                                               The Parties

        1.       Plaintiff is an Illinois citizen and resides in this district.

        2.       Defendant is a bank with its principal place of business in this district.

                                        Jurisdiction and Venue

        3.       This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331, because

this action is brought pursuant to the Electronic Funds Transfer Act, 15 U.S.C. § 1693 et seq.,

and Regulation E, 12 C.F.R. § 205.1 et seq.

        4.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), because the

transactions at issue occurred in this district, Plaintiff resides in this district and Defendant

resides in this district.
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                               Statutory/Regulatory Authority

         5.    The Electronic Funds Transfer Act, 15 U.S.C. § 1693 et seq. (“EFTA”), and its

implementing Regulation E, 12 C.F.R. § 205.1 et seq., require an automated teller machine

(“ATM”) operator to provide notice to consumers that the operator will impose a fee on

consumers for conducting a transaction at an ATM and the amount of such a fee.

         6.    Specifically, 15 U.S.C. § 1693b(d)(3) and 12 C.F.R. § 205.16(c) require that an

ATM operator disclose (a) on the ATM, that a fee will be imposed and (b) on the ATM screen,

that a fee will be imposed and the amount of such a fee.

         7.    The EFTA, 15 U.S.C. § 1693b(d)(3)(C), and Regulation E, 12 C.F.R. § 205.16(e),

prohibit the imposition of a fee for using an ATM if the foregoing notice requirements are not

met.

                                   Facts Related To Plaintiff

         8.    On January 9, 2008, Plaintiff used automated teller machine (“ATM”) number

42710 (“ATM 42710”), located at 6111 West Dempster Street, Morton Grove, Illinois.

         9.    On January 9, 2008, Plaintiff was charged a $1.00 fee to withdraw money from

ATM 42710.

         10.   On January 9, 2008, at the time Plaintiff used ATM 42710, there was no notice

posted on or near ATM 42710 that disclosed that users would be charged any fee for using ATM

42710.

                                    COUNT I
                      VIOLATION OF EFTA AND REGULATION E

         11.   Plaintiff incorporates herein by reference paragraphs 1-10.




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       12.     Plaintiff brings this Count on behalf of himself and a Class of all persons who

were charged a transaction fee for the use of automated teller machine number 42710, located at

Cambridge Bank/Inland Bank and Trust, 6111 W. Dempster St., Morton Grove, IL 60053.

       13.     Pursuant to Fed. R. Civ. P. 23, a class action is appropriate and preferable

because, on information and belief, the putative Class consists of hundreds of persons and is so

numerous that joinder of all putative Class members, whether otherwise required or permitted, is

impracticable. The actual number of putative Class members is in the exclusive control of

Defendant.

       14.     Pursuant to Fed. R. Civ. P. 23, a class action is appropriate and preferable because

questions of law and fact common to the Class predominate over any questions affecting only

individual putative Class members, including:

               (a)     Whether, pursuant to 15 U.S.C. § 1693b(d)(3)(A) and 12 C.F.R. § 205.16,
                       Defendant was an ATM operator at all relevant times during the Class
                       period that imposed a fee on consumers for providing host transfer
                       services to those consumers; and

               (b)     Whether, at all relevant times during the Class period, Defendant failed to
                       comply with the notice requirements of 15 U.S.C. § 1693b(d)(3) and 12
                       C.F.R. § 205.16(c).

       15.     Pursuant to Fed. R. Civ. P. 23, a class action is appropriate and preferable because

Plaintiff’s claims are typical of the claims of the putative Class members, including:

               (a)     Plaintiff and all putative Class members used an ATM operated by
                       Defendant;

               (b)     Defendant failed to provide notices compliant with 15 U.S.C. §
                       1693b(d)(3) and 12 C.F.R. § 205.16(c) to Plaintiff and all putative Class
                       members; and

               (c)     Defendant illegally imposed a fee on Plaintiff and all putative Class
                       members for their respective use of ATM 42710.



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          16.   Pursuant to Fed. R. Civ. P. 23, a class action is appropriate and preferable,

because Plaintiff will fairly and adequately protect the interests of the Class and Plaintiff has

hired counsel able and experienced in class action litigation.

          17.   Pursuant to Fed. R. Civ. P. 23(b)(3), class certification is appropriate because

questions of law or fact common to the Class predominate over any questions affecting only

individual putative Class members, and a class action is superior to other available methods for

the full and efficient adjudication of the controversy.

          18.   Pursuant to Fed. R. Civ. P. 23(b)(3), class certification is appropriate because this

Court and the parties would enjoy economies in litigating common issues on a class-wide basis

instead of a repetitive individual basis.

          19.   Pursuant to Fed. R. Civ. P. 23(b)(3), class certification is appropriate because the

size of each putative Class member’s actual damages is too small to make individual litigation an

economically viable option.

          20.   Pursuant to Fed. R. Civ. P. 23(b)(3), class certification is appropriate because no

unusual difficulties will likely occur in the management of the Class as all questions of law or

fact to be litigated at the liability stage are common to the putative Class and all compensatory

relief is concomitant with a liability finding and can be calculated by automated and objective

means.

          21.   Pursuant to 15 U.S.C. § 1693b(d)(3)(D)(i) and 12 C.F.R. § 205.16(a), Defendant

was an ATM operator at all times relevant to this action.

          22.   Defendant was the ATM operator of ATM 42710 at all times relevant to this

action.




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       23.     Defendant failed to comply with the notice requirements of 15 U.S.C. §

1693b(d)(3) and 12 C.F.R. § 205.16(c) when providing ATM services to Plaintiff and all putative

Class members.

       24.     Pursuant to 15 U.S.C. § 1693b(d)(3)(C) and 12 C.F.R. § 205.16(e), Defendant,

therefore, illegally imposed a fee on Plaintiff and all putative Class members for their respective

use of ATM 42710.

       WHEREFORE, Plaintiff, individually and on behalf of the putative Class, requests that

this Court enter judgment in his favor and against Inland Bank and Trust d/b/a Cambridge Bank

and award the following:

       A.      Actual and statutory damages as set forth in the EFTA and Regulation E;

       B.      Attorneys’ fees and costs of suit; and

       C.      Such other relief as this Court deems proper.

                              Plaintiff Demands A Trial By Jury

                                             EUGENE CHERNYAVSKY, Plaintiff,


                                      By:    _/s/ Lance A. Raphael________________
                                             Lance A. Raphael, One Of His Attorneys

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